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____________________________________________________________________________
                                                      SO ORDERED,




                                                      Judge Jason D. Woodard
                                                      United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
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                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI


In Re: CHRISTOPHER C. NEAL                                                            CHAPTER 13
                                                                                  NO: 18-12411 JDW

        ORDER APPROVING SUSPENSION OF CHAPTER 13 PLAN PAYMENTS

        THIS CAUSE having come before the Court for consideration of the Motion to Suspend
Chapter 13 Plan Payments (Dkt. #61) of the Debtor requesting that the plan payments to the
Trustee be suspended for a period of one (1) month, and no responses having been filed after
notice to all creditors and parties in interest, the Court finds that the Motion is due to be granted.


        IT IS THEREFORE ORDERED AND ADJUDGED that the plan payments are hereby
suspended for one (1) month, for the month of March, 2020, with payments resuming in April,
2020.


        IT IS FURTHER ORDERED AND ADJUDGED that the Chapter 13 Trustee is hereby
authorized to adjust the plan payment to insure the plan can complete within 60 months.
                                       ##END OF ORDER##
Submitted by:
 /s/ Robert Gambrell
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